
700 S.E.2d 224 (2010)
STATE of North Carolina
v.
Robert Peter VOGT, Jr.
No. 465A09.
Supreme Court of North Carolina.
October 8, 2010.
Roy Cooper, Attorney General, by Peter A. Regulski, Assistant Attorney General, for the State.
William D. Auman, Asheville, for defendant-appellant.
PER CURIAM.
For the reasons stated in State v. Bowditch, ___ N.C. ___, 700 S.E.2d 1 (2010), the decision of the Court of Appeals is affirmed.
AFFIRMED.
Chief Justice PARKER and Justices TIMMONS-GOODSON and HUDSON dissent for the reasons stated in the dissenting opinion in State v. Bowditch, ___ N.C. ___, 700 S.E.2d 1 (2010).
